Case 2:18-mj-00813-DUTY Document 3 Filed 04/10/18 Page 1 of 1 Page |D #:97__
Case 2:18~mj-00813-DUTY *SEALED* Document 1~1 *SEALED* Filed 04/04/18 Page 2 0f14

 

 

Page ID #:36
110 93 (Rev. 12/09) Search and Ser'zurs Wamm a’age 2)
Return
Case No.: Date and time warrant eacee.ta.‘er.t.l Copy of warrant and inventory left wtth:
2:13~MJ_313 q/o/, 3 o§oo Hee we\_~\.e', w =L\st¢>?v~ee-

 

 

 

Inventory made in the presence 0_}`: 7

5A /rgN/L fit we
Inventory ofthe properly taken and name of any person (s) seized: U
[,P}ease provide a description that Would be sufficient to demonstrate that the items seized fall With.in the items authorized to `ne
seized pursuant to the warrant (e.g., type of documents, as opposed to “miseellaneous docmnents”) as Well as the approximate
volume of any documents seized (e.g., number of boxes). ]'.frefereoce is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

['\on,e {/tp/p[e irwier imade¢¢ /41533 ,Z'/tEI:
seated 3 de mm apple
/'"LU+£'L£`/l@

 

   

   

___-_____________

 

Certiticatton {by officer present during the execution of the warrant)

 

I declare under penalty of perjury thatI am art o]j‘icer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk’s Ojj'iee.

gte M%///

 

 

/ Execuh'ng ojtr:er ‘s signature
é¢mt /,ncme 'Dr. ZAN/A ATP’ ~T?Fa
Prtnted name and title

 

 

 

AUSA: l W. ROLL|NS, x7407 |

 

